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MINUTE ENTRY
AFRICK, J.
MARCH 26, 2015

JS10 - 01:00

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


 LASHAWN JONES, et al                                              CIVIL ACTION
 VERSUS                                                            NUMBER: 12-859
 MARLIN N. GUSMAN, et al                                           SECTION: I

                                        STATUS HEARING

COURTROOM DEPUTY: Bridget Gregory
COURT REPORTER: Karen Ibos

APPEARANCES:             Katie Shwartzmann, Elizabeth Cumming, Counsel for plaintiffs
                         Laura Coon, Sharon Brett, Corey Sanders (by telephone), Counsel for
                         intervenor plaintiff United States of America
                         James Williams, Freeman Matthews, Blake Arcuri, Inemesit O'Boyle,
                         Counsel for defendant/third party plaintiff Orleans Parish Sheriff’s Office
                         Sharonda Williams, Bryan Bowdler, Counsel for third party defendant
                         City of New Orleans

Court begins.
Case called.
All present and ready.
Court addressed counsel for the Sheriff regarding the motion1 to issue order directing the city to
fund jail operations.
IT IS ORDERED that the motion is WITHDRAWN, for reasons stated orally on the record.
Susan McCampbell, lead monitor, addressed the Court regarding status of compliance with the
consent judgment.
Dr. Raymond F. Patterson, mental healthcare submonitor, addressed the Court (by telephone).
Tommy Vassell, chair of the budgetary working group, addressed the Court.
Margo L. Frasier, correctional practices submonitor, addressed the Court.
Dr. Robert B. Greifinger, medical care submonitor, addressed the Court.
Court adjourned.



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           Rec. Doc. No. 793
